USCA Case #23-1282       Document #2040577           Filed: 02/15/2024    Page 1 of 6



              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

Advanced Energy United, et al.,               )
                                              )      Nos. 23-1282, 23-1284,
                   Petitioners,               )      23-1289, 23-1293,
                                              )      23-1297, 23-1299,
             v.                               )      23-1305, 23-1310,
                                              )      23-1312, 23-1313,
Federal Energy Regulatory Commission,         )      23-1320, 23-1327,
                                              )      23-1330 & 23-1346
                   Respondent.                )      (consolidated)

              UNOPPOSED MOTION OF RESPONDENT
           FEDERAL ENERGY REGULATORY COMMISSION
         TO CONTINUE HOLDING CASES IN ABEYANCE AND
       SET APRIL 16, 2024 FOR FURTHER MOTIONS TO GOVERN

      The Court’s November 9 order in these consolidated cases suspended the

deadlines for filing initial submissions, procedural and dispositive motions, and the

certified index to the record, pending further order of the Court, and directed the

parties to file motions to govern future proceedings by December 12, 2023.

Subsequently, the Court granted an unopposed motion filed by Respondent Federal

Energy Regulatory Commission (“FERC” or the “Commission”) to hold these

cases in abeyance and establish a date of February 16, 2024 for filing motions to

govern. See Dec. 12, 2023 Order.

      Counsel for the Commission contacted counsel for all Petitioners and

Movant-Intervenors in advance of the February 16 deadline, and is authorized to

state that no party opposes a 60-day extension of the abeyance period (Movant-
USCA Case #23-1282        Document #2040577           Filed: 02/15/2024    Page 2 of 6



Intervenors state that they do not intend to file a response). Accordingly, the

Commission requests that the Court continue holding these consolidated cases in

abeyance, and set a date of April 16, 2024 for filing further motions to govern.

      These consolidated petitions arise from a Commission rulemaking,

Improvements to Generator Interconnection Procedures and Agreements, 184

FERC ¶ 61,054 (July 28, 2023) (“Order 2023”), currently pending on agency

rehearing. Order 2023 implements reforms to the procedures governing the

interconnection of power generation sources to the electric transmission grid. See

id. P 3 (rulemaking is designed to “ensure that interconnection customers are able

to interconnect to the transmission system in a reliable, efficient, transparent, and

timely manner”). Numerous parties filed requests for agency rehearing of Order

2023. See FERC Dkt. No. RM22-14-001.1 On September 28, the Commission

gave notice that it intends to issue a future order upon further consideration of the

many requests for agency rehearing. See Notice of Denial of Rehearing by

Operation of Law and Providing for Further Consideration, 184 FERC ¶ 62,163

(2023).

      After issuance of the September 28 Notice, multiple parties filed petitions

for review in this Court and the U.S. Courts of Appeals for the Third, Sixth, and



      1 Filings in FERC proceedings are available at:

https://elibrary.ferc.gov/eLibrary/search.
                                           2
USCA Case #23-1282       Document #2040577           Filed: 02/15/2024    Page 3 of 6



Eighth Circuits. As reflected in this docket, the Judicial Panel on Multidistrict

Litigation issued a consolidation order on October 25 consolidating the petitions in

this Court. Since the filing of the Commission’s November 8 unopposed motion to

suspend initial deadlines and set a new deadline for further motions, additional

petitions for review have been filed. At present, 14 petitions for review are

consolidated in this proceeding. See Docket, Nos. 23-1282, et al.

      Numerous requests for agency rehearing of FERC Order 2023 are currently

pending before the Commission, and will be addressed in a future order. In light of

the ongoing agency proceedings, abeyance here will serve the interest of judicial

economy in avoiding piecemeal appeals. See, e.g., Outland v. Civil Aeronautics

Board, 284 F.2d 224, 227-28 (D.C. Cir. 1960); see also State of Alaska v. FERC,

980 F.2d 761, 764 (D.C. Cir. 1992). In particular, the continued suspension of the

date for filing the certified index to the record allows the Commission to retain

jurisdiction to address the pending requests for agency rehearing and “to affirm,

modify, or set aside [its] order[s] in whole or in part,” before the Court assumes

exclusive jurisdiction to do so. See 16 U.S.C. § 825l(b).

      Accordingly, the Commission requests that the Court grant this unopposed

motion.




                                          3
USCA Case #23-1282    Document #2040577          Filed: 02/15/2024   Page 4 of 6



                                           Respectfully submitted,


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                                           /s/ Susanna Y. Chu
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February 15, 2024




                                       4
USCA Case #23-1282       Document #2040577           Filed: 02/15/2024    Page 5 of 6




                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g), I certify that this motion complies with

the type-volume limitation of Fed. R. App. P. 27(d)(2)(A) because this motion

contains 570 words.

      I further certify, pursuant to Fed. R. App. P. 27(d)(1)(E), that this motion

complies with the typeface requirements of Fed. R. App. P. 32(a)(5) and the type

style requirements of Fed. R. App. P. 32(a)(6) because this motion has been

prepared in Times New Roman 14-point font using Microsoft Word for Office 365.



                                       /s/ Susanna Y. Chu
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February 15, 2024
USCA Case #23-1282          Document #2040577          Filed: 02/15/2024     Page 6 of 6



                            CERTIFICATE OF SERVICE

      I hereby certify that, on February 15, 2024, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties via the Court’s

electronic filing system.



                                                       /s/ Susanna Y. Chu
                                                       Susanna Y. Chu
                                                       Attorney
